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                        EXHIBIT 7
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ENERGIZABLE ELECTRICAL TEST DEVICE FOR MEASURING CURRENT AND
RESISTANCE OF AN ELECTRICAL CIRCUIT

PATENT #                    APPLICATION #               FILING DATE                ISSUE DATE
7184899                     11029595                    01/05/2005                 02/27/2007



Payment Window Status
                                                                                                                 No maintenance
WINDOW                               STATUS                               FEES                                    fees are due.
11.5 Year                            Closed                               Paid

 Window           First Day to Pay   Surcharge Starts   Last Day to Pay   Status           Fees


 3.5 Year         02/27/2010         08/28/2010         02/28/2011        Closed           Paid


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